          Case 1:11-cr-00354-JLT Document 738 Filed 02/07/17 Page 1 of 1



 1

 2

 3
                              UNITED STATES DISTRICT COURT
 4
                                EASTERN DISTRICT OF CALIFORNIA
 5

 6    UNITED STATES OF AMERICA,                        CASE NO. 1:11-CR-00354-LJO-SKO
 7                            Plaintiff-
                              Respondent,
 8                                                     ORDER REFERRING CASE TO FEDERAL
             v.                                        DEFENDER’S OFFICE
 9
      JESUS RAMON SERRANO,
10
                              Defendant-               ECF No. 735
11                            Petitioner.
12

13          On February 2, 2017, Defendant-Petitioner Jesus Ramon Serrano (“Defendant”) filed a pro
14   se motion to reduce his sentence pursuant to Title 18, United States Code, Section 3582(c)(2)
15   (“§ 3582”) and Amendment 782. ECF No. 735. Pursuant to Eastern District of California General
16   Order 546, the Court now appoints the Federal Defender’s Office (“FDO”) to represent Defendant
17   this matter. From the filing date of this order, the FDO SHALL have 30 days to notify the Court
18   whether it intends to file a supplement to Defendant’s § 3582 motion, or, whether it does not intend
19   to file a supplement. The Clerk of Court is DIRECTED to add the FDO’s Panel Administrator,
20   Connie Garcia (Connie_Garcia@fd.org), to the service list prior to docketing of this Order.
21
     IT IS SO ORDERED.
22

23      Dated:     February 7, 2017                        /s/ Lawrence J. O’Neill _____
                                                  UNITED STATES CHIEF DISTRICT JUDGE
24

25

26
27

28
